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                      UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                   Case No.: 1:21-cr-00128-RC

               v.


WILLIAM ALEXANDER POPE,

                            Defendant .

                                          MOTION IN LIMINE

       Pursuant to Fed. R. Evid. 401., 402., and 403., I move the Court in limine to preclude the

following irrelevant, prejudicial, and/or inadmissible evidence:


           •        The Court should preclude the government from using the following

                    inflammatory words, phrases, and references due the language being irrelevant to

                    my charges, factually incorrect, and highly prejudicial:

                       o Insurrection/Insurrectionists.

                       o Sedition/Seditionists.

                       o Terrorism/Terrorists.

                       o Mob, riot, rioters, treason, traitors, conspiracy, conspirators, etc.

                       o Attack/Attacked.

                       o Threat to Democracy.

                       o Obstruction of an Official Proceeding (Pending Fischer v. United States).

                       o The false claim that I wedged or jammed a flagpole into a door.

                       o References to Proud Boys, Oath Keepers, Three Percenters, militias, or

                           any other organization which I have no connection to.
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         o Any reports or insinuation that police died at the Capitol on January 6.

         o Any other inflammatory of controversial language.

  •   The Court should preclude the following media:

         o Photos, video, or audio recordings of any place and moment where I was

             not physically present unless such video is related to the actions of key

             witnesses in my case.

         o Photos, video, or audio recordings of, or made by, any federal agents,

             employees, task force officers, confidential human sources, or any other

             human assets who were working on behalf of any federal agency or

             contractor, and who were moving barricades, engaging in violence,

             destroying property, entering the Capitol as part of the crowd, occupying

             an alleged restricted space, or influencing crowd behavior, unless the

             government first identifies and provides me discovery on all such

             individuals depicted in the video, and/or who recorded the video.

  •   The Court should preclude all statements made by my brother or any other

      defendant, protestor, journalist, or government official to which I was not a party.

  •   The Court should preclude any materials seized from my phone related to the

      illegally executed warrant (unless I otherwise stipulate their admissibility).

  •   The Court should preclude all discovery compiled by the Task Force Officers who

      illegally executed the warrant (including their interview notes), since the bodycam

      recordings from my arrest have not been preserved by the government, which has

      deprived me of materials that would have been used to impeach these TFOs.
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  •   The Court should preclude any attempts by the government to falsely imply that I

      engaged in or attempted violence or property destruction.

  •   The Court should preclude all communications made between my brother and I

      pertaining to concerns for our safety in Washington D.C.

         o Such concerns were due to the City of Washington not adequately

             protecting visitors during the November 14 and December 12 rallies. We

             did not attend those events, but the videos we saw of violent attacks on

             visitors left us concerned about our safety.

         o Although we discussed defensive options, we ultimately consulted local

             regulations and did not bring body armor or any prohibited items to

             Washington. Personal defense is not a crime, and discussions regarding

             personal defense are not evidence of a crime, so introducing evidence of

             such discussions would be irrelevant to the case and confuse the jury.

         o Other journalists, such as those from the Washington Post and LA Times,

             did wear body armor on Capitol grounds and into the Capitol on January

             6, so this lawful practice seems to be accepted in Washington D.C.

         o My brother and I remained entirely peaceful on January 6 and stuck to our

             plan to leave Washington before it got dark to avoid being attacked.

  •   The Court should preclude any materials which were designated ‘highly sensitive’

      that I have not had direct and continuous access to, or any evidence designated as

      ‘sensitive’ that I did not have the opportunity to review due to not having full

      access to the discovery databases, unless otherwise stipulated to by me.
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   •   The Court should preclude any map purporting to show a restricted area around

       that Capitol that was not created and officially approved by U.S. Secret Service

       prior to the events of January 6, 2021.

   •   The Court should preclude the government from using my First Amendment

       activity before, on, or after, January 6, as evidence of criminal conduct.

   •   The Court should preclude any attempts by the government to imply that holding

       or waving an American Flag in the United States Capitol is criminal conduct.

   •   The Court should preclude any government use of ‘Raindrop Theory,’ or any

       allegation that the ‘crowd was the weapon,’ or that I am individually responsible

       for the behavior of the crowd or other individuals, unless the government first

       identifies and produces discovery on all uncover government agents, assets, and

       informants who were in the crowd at the Capitol, and I am also allowed by the

       Court to bring a Raindrop Theory defense.

   •   The Court should preclude the government from mentioning politics, political

       speech, or political figures since trials should not be political prosecutions.

Respectfully submitted to the Court,

                                              By: William Pope

                                                  /s/


                                              William Pope
                                              Pro Se Officer of the Court
                                              Topeka, Kansas
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                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on June 17, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
